16 F.3d 413NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    UNITED STATES of America, Plaintiff Appellee,v.Melvin JORDAN, Defendant Appellant.
    No. 936430.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 23, 1993.Decided Jan. 31, 1994.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore;  J. Frederick Motz, District Judge.
      Melvin Jordan, appellant pro se.
      Barbara Suzanne Skalla, Asst. U.S. Atty., Baltimore, MD, for appellee.
      D.Md.
      AFFIRMED.
      Before HALL, WILKINSON and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Melvin Jordan appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Jordan, No. CR-91-30-JH;  CA-93-508-JFM (D. Md. Apr. 8, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    